3:21-cv-00278-RBH   Date Filed 01/28/21   Entry Number 1-3   Page 1 of 19




                           EXHIBIT 3
      3:21-cv-00278-RBH                   Date Filed 01/28/21              Entry Number 1-3                Page 2 of 19




                                       THE STATE OF SOUTH CAROLINA
                                              In the Supreme Court
                                          _________________________

                                         IN THE ORIGINAL JURISDICTION
                                           __________________________


Richard Bernard Moore .................................................................................................... Petitioner,


                                                                 v.

Bryan P. Stirling, Director of the
South Carolina Department of
Corrections, and South Carolina
Department of Corrections........................................................................................... Respondents.


                                _________________________________________

           Return to Petition for Common Law Remedial Writs of Certiorari and Mandamus,
             and Return to Petition for Original Jurisdiction and Declaratory Relief
                          _________________________________________


          Richard Bernard Moore (Petitioner) petitioned this Court for common law remedial writs

of certiorari and mandamus against Brian P. Stirling and the South Carolina Department of

Corrections (SCDC) (Respondents) on November 16, 2020. Additionally, Petitioner

simultaneously moved before this Court for a stay of execution and petitioned this Court to accept

under the Original Jurisdiction of this Court his Complaint seeking declaratory relief against

Respondents.

          Respondents assert that Petitioner’s petitions should be denied, and that he has not

established that he is entitled to the relief he seeks.




                                                                  1
       3:21-cv-00278-RBH        Date Filed 01/28/21       Entry Number 1-3        Page 3 of 19




                                           DISCUSSION

  I.    Jurisdictional Issues

        Petitioner Richard Bernard Moore, a SCDC inmate sentenced to death, has petitioned this

Court to either accept his proposed Complaint for declaratory relief in the Court’s Original

Jurisdiction, or, alternatively, to grant a Writ of Certiorari and issue a Writ of Mandamus, which

essentially asks for the same relief as requested in the Complaint for Declaratory Relief. In both

the Complaint and Petition for Writ of Mandamus, Moore seeks to have this Court compel SCDC

and/or its Director to disclose specific information about SCDC’s execution procedures and

protocols, claiming that Moore has some form of Due Process right to the requested information

before he makes an election of execution method pursuant to S.C. Code Ann. § 24-3-530.

        Section 24-3-530 provides, in pertinent part, that a condemned person must elect between

the methods of electrocution or lethal injection in writing, at least fourteen days before the

execution date, or the option to elect is waived and the death penalty must be administered by

lethal injection. See S.C. Code Ann. § 24-3-530. The statute is devoid of any language requiring

SCDC to provide to the condemned person additional information about the two statutorily

approved methods of execution prior to the condemned person making the election. Id.

        a. Petition for Writ of Certiorari and Writ of Mandamus

        With regards to Petitioner’s petition for Writ of Certiorari and Writ of Mandamus,

Respondents respectfully submit that the petitions are improper and should be denied. Petitioner

argues the common law remedial writs of certiorari and mandamus should be granted against

Respondents because South Carolina’s capital punishment statute requires Respondents’

compliance, and to protect Petitioner’s due process rights. However, Petitioner recognizes that a

petition for a writ of certiorari in this case is not the appropriate avenue for the relief sought. See




                                                  2
       3:21-cv-00278-RBH         Date Filed 01/28/21      Entry Number 1-3        Page 4 of 19




Pet. for Writ of Cert. and Mandamus 2, n.1 (“In an abundance of caution . . . [Petitioner] has filed

the present case as a joint petition for writs of certiorari and mandamus in the Court’s original

jurisdiction.”).

         A writ of certiorari is ordinarily only appropriately issued for the Court to review: (1) a

final decision by the Court of Appeals; (2) a final decision under the Post-Conviction Relief Act;1

or (3) a final order of the circuit or family court denying or granting DNA testing under the Access

to Justice Post-Conviction DNA Act.2 Rules 242, 243, and 247, SCACR. Additionally, there are

certain instances where the Court may entertain matters in its original jurisdiction. Rule 245,

SCACR.       However, the Court “will not entertain matters in its original jurisdiction when the

matter can be determined in a lower court in the first instance,” unless the public interest is

involved, or “if special grounds of emergency or other good reasons exist why the original

jurisdiction of the [Court] should be exercised.” Rule 245(a), SCACR.

         Here, a petition for a writ of certiorari is inappropriate because it is not seeking review of

(1) a final decision by the Court of Appeals; (2) a final decision of a PCR court; or (3) a final

decision under the Post-Conviction DNA Act. Rather, Petitioner is seeking for this Court to issue

an extraordinary writ more appropriately brought, if at all, in the Court’s original jurisdiction.

Petitioner appears to recognize this defect, as Petitioner has also requested the Court to review

these matters in its original jurisdiction. See Binney v. State, 384 S.C. 539, 541 n.1, 683 S.E.2d

478, 479 n.1 (2009) (“A matter may not be before th[e] Court by way of a writ of certiorari and in

[its] original jurisdiction.”) (emphasis in original); Aiken v. Byars, 410 S.C. 534, 536, 765 S.E.2d

572, 574 (2014) (stating the cases were brought before the Court in its original jurisdiction);



1
    S.C. Code Ann. §§ 17-27-10 to -160.
2
    S.C. Code Ann. §§ 17-28-10 to -120.



                                                   3
     3:21-cv-00278-RBH          Date Filed 01/28/21        Entry Number 1-3         Page 5 of 19




Laffitte v. Bridgestone Corp., 381 S.C. 460, 674 S.E.2d 154 (2009) (allowing an interlocutory

appeal because the case presented “exceptional circumstances as it involve[ed] a novel question

of law in a matter that ha[d] been the subject of numerous claims in state and federal courts”).

        Petitioner seeks a Writ of Certiorari in an attempt to get this Court to issue a Writ of

Mandamus to force Respondents to provide detailed information relating to the execution

protocols for lethal injection and electrocution established by SCDC. Not only is the Writ of

Certiorari the inappropriate mechanism to seek this review, Petitioner cannot show the need for

such an extraordinary writ as that of Mandamus in this case.

        While this Court has the power to issue writs or orders of injunction or mandamus, see S.C.

Const. Art. V, § 5; S.C. Code Ann. § 14-3-310, that power should be sparingly exercised. The

writ of mandamus is “the highest judicial writ known to law.” Willimon v. Cty. of Greenville, 243

S.C. 82, 86, 132 S.E.2d 169, 170 (1963). “[I]t is not the purpose of the writ to establish a legal

right, but to enforce one that has already been established.” Id. at 87, 132 S.E. 2d at 171 (emphasis

added). To obtain a writ of mandamus, the petitioner must show (1) the respondent has a duty to

perform the act; (2) the duty is ministerial in nature; (3) the petitioner has a specific legal right for

the respondent to perform the act; and (4) the petitioner has no other legal remedy. Id.

        Here, without waiving any other arguments, Respondents assert Petitioner clearly cannot

satisfy the fourth element to obtain a Writ of Mandamus. Petitioner argues he has no other legal

remedy; however, Petitioner simultaneously filed a Petition asking this Court to take up in its

Original Jurisdiction his claim for declaratory judgement. Because Petitioner has not exhausted

his declaratory judgement claim, a writ of mandamus should not be granted because Petitioner

potentially has another legal remedy. Furthermore, Respondents assert that Petitioner has not

established that there is any duty to perform the act in question, nor that such duty would be




                                                   4
     3:21-cv-00278-RBH           Date Filed 01/28/21      Entry Number 1-3        Page 6 of 19




ministerial in nature. Respondents would crave reference to the only statute Petitioner advances,

and would call to the Court’s attention that said statute, S.C. Code Ann. Section 24-3-530, is

conspicuously devoid of any mention of a duty to provide any information on the protocols and/or

procedures for either statutorily approved method of execution.

        Wherefore, even if Petitioner’s attempt to have this Court consider issuing a Writ of

Mandamus thorough a Petition for Writ of Certiorari was proper, which it clearly is not, Petitioner

fails to establish the necessary elements for such an extraordinary writ to be issued.

        b.         Petition for Writ of Original Jurisdiction

        With regards to Petitioner’s petition to have this Court accept his Complaint seeking

Declaratory Relief in this Court’s Original Jurisdiction, Respondents respectfully assert that

petition should also be denied. Article V, section 5 of the South Carolina Constitution grants the

Supreme Court authority to issue writs in its original jurisdiction. It is well-settled the Supreme

Court will not entertain matters in its original jurisdiction whenever the matter can be entertained

first in the trial court. Key v. Currie, 305 S.C. 115, 116, 406 S.E.2d 356, 357 (1991). The

procedures governing petitions for original jurisdiction are set forth in Rule 245 of the South

Carolina Appellate Court Rules. Rule 245 explains matters appropriate for the Court’s original

jurisdiction involve “public interest,” “special grounds of emergency,” or “other good reasons.”

See also Key, 305 S.C. at 116, 406 S.E.2d at 357 (“Only when there is an extraordinary reason

such as a question of significant public interest or an emergency will this Court exercise its original

jurisdiction.”).

        Although SCDC strongly disagrees with the merits of Moore’s complaint for declaratory

relief, SCDC acknowledges the Court has discretion to choose to hear this matter in its original

jurisdiction pursuant to Rule 245. Nevertheless, the Court should decline to hear Moore’s




                                                  5
          3:21-cv-00278-RBH        Date Filed 01/28/21      Entry Number 1-3        Page 7 of 19




eleventh-hour arguments. Moore has undoubtedly received due process at every stage of this

litigation, and he has exhausted all his state and federal appeals. Moore’s last-minute attempt to

delay a constitutionally approved punishment should be rejected.

           If the Court disagrees and chooses to hear this case in its original jurisdiction, we

respectfully request the Court allow the parties the opportunity to fully brief the merits of the issues

presented in Moore’s complaint. However, to assist the Court in deciding whether this case is

appropriate to be heard in its original jurisdiction, SCDC will briefly show why Moore’s complaint

must fail.

    II.    Petitioner’s Complaint

           Petitioner’s Complaint seeks to have this Court award him Declaratory Relief. He claims

that he has a right to such relief that stems from SCDC’s decision to not disclose information about

its internal execution procedures and protocols. Petitioner claims he requires access to those

procedures and protocols before he can make an informed decision as to which method of

execution he will choose and for him to assess whether he wishes to raise Constitutional challenges

to the execution procedures and/or protocols.3

           Essentially, Petitioner’s argument is that it would be a violation of his Due Process rights,4

to deny him access to the detailed information he has requested regarding the procedures and

protocols associated with the two statutorily approved methods of execution. However, Petitioner


3
    S.C. Code Ann. section 24-3-530.
4
 Petitioner attempts to claim that not being provided this information before he makes an election
on method of execution, may also constitute an Eighth Amendment violation. Respondents assert
such a claim is without merit, as there is no right to this information or colorable argument that
absent this information, he will suffer any form of punishment in making his decision. The only
punishment he will ultimately receive is the carrying out of his sentence of death, which will be
conducted by either electrocution or lethal injection, and both such methods have been upheld as
Constitutional. Importantly, Petitioner does not challenge the constitutionality of the methods of
execution in these proceedings.



                                                     6
       3:21-cv-00278-RBH        Date Filed 01/28/21       Entry Number 1-3        Page 8 of 19




fails to point to any statute or case law that would support this conclusory argument. Respondents

assert that Petitioner’s Due Process rights were more than adequately protected through the

exhaustive appellate procedures associated with his conviction and sentence, all of which he

admits have reached final conclusion. The Court need not entertain this novel collateral attack.

         a.      Petitioner has not been deprived procedural due process under the United
                 States and South Carolina Constitutions.

         The Due Process Clauses of the Fourteenth Amendment to the United States Constitution

and Article I, section 3 of the South Carolina Constitution require no person shall be deprived of

life, liberty, or property without due process of law. U.S. CONST. AMEND. XIV, § 1; S.C. CONST.,

ART.   I, § 3.

         “Procedural due process imposes constraints on governmental decisions which deprive

individuals of liberty or property interests within the meaning of the Due Process Clause[.]”

Thompson v. State, 415 S.C. 560, 566, 785 S.E.2d 189, 192 (2016) (quoting Kurschner v. City of

Camden Planning Comm’n, 376 S.C. 165, 171, 656 S.E.2d 346, 350 (2008)). The specific

demands of due process generally require consideration of: (1) the private interest affected by the

official action; (2) the risk of erroneous deprivation of such interest and the probable value, if any,

of additional or substitute procedural safeguards; and (3) “the Government’s interest, including the

function involved and the fiscal and administrative burdens that the additional or substitute

procedural requirement would entail.” Mathews v. Eldridge, 424 U.S. 319, 335 (1976). “Due

Process is not a technical concept with fixed parameters unrelated to time, place, and

circumstances; rather, it is a flexible concept that calls for such procedural protections as the

situation demands.” State v. Legg, 416 S.C. 9, 13, 785 S.E.2d 369, 371 (2016).

         Petitioner claims he has a due process right to SCDC’s internal policies and protocols to

ensure he is not deprived of “his life or subjected to a needlessly painful death without due process




                                                  7
     3:21-cv-00278-RBH         Date Filed 01/28/21       Entry Number 1-3        Page 9 of 19




of law.” Complaint ¶ 52. However, his Due Process rights associated with his conviction and

sentence, which is what actually impinges on his right to life, have been more than adequately

satisfied through the exhaustive appeals process associated with his conviction and sentence. The

question now posed by Petitioner to this Court is different. It is whether or not he is entitled to

detailed information he claims to need in order to elect which method of execution will be used to

carry out the sentence in question. Respondents assert the present circumstances do not implicate

due process concerns.

        Petitioner fails to point to any statute requiring SCDC to disclose its internal policies and

protocols. It does not appear that any South Carolina court has actually considered this specific

question, but the Fifth Circuit Court of Appeals has taken up this question, or at least a question

substantially similar to it.

        In Sepulvado v. Jindal, 729 F.3d 413 (5th Cir. 2013) the Fifth Circuit took up a death-row

inmate’s claim that the state’s refusal to disclose the details of its execution protocol violated his

Due Process rights. Less than a week before the inmate’s scheduled execution, the district court

issued a preliminary injunction and stay, reasoning the inmate was entitled to review of the full

protocol. The Fifth Circuit reversed, holding “[t]here is no violation of the Due Process Clause

from the uncertainty that Louisiana has imposed on [the inmate] by withholding the details of its

execution protocol.” Id. at 420. Respondents assert that should this Court be inclined to grant the

Petition for Original Jurisdiction, the Court should ultimately reach the same conclusion as the

Fifth Circuit, and find that Petitioner has not established a Due Process right to the information in

question, and therefore cannot establish a Due Process violation.




                                                  8
    3:21-cv-00278-RBH         Date Filed 01/28/21      Entry Number 1-3        Page 10 of 19




       SCDC’s decision to restrict access to the specific details of its execution procedures and

protocols is grounded in multiple security related concerns,5 and furthermore is consistent with the

apparent public policy of the State of South Carolina as evidenced by the General Assembly’s

enactment of a confidentiality statute relating to executions and information tending to identify

participants in said executions suggests that information like that requested by Petitioner should

be restricted. See S.C. Code Ann. Section 24-3-580.

        Section 24-3-580 of the South Carolina Code provides in pertinent part, “A person may

not knowingly disclose the identity of a current or former member of an execution team or disclose

a record that would identify a person as being a current or former member of an execution team.”

This statute creates a civil cause of action for anyone who knowingly discloses this information.6

Id. Further, section 24-3-590 provides:

               No licensing agency, board, commission, or association may file,
               attempt to file, initiate a proceeding, or take any action to revoke,
               suspend, or deny a license to any person solely because that person
               participated in the execution of a sentence of death on a person
               convicted of a capital crime as authorized by law or the director.

       In 2015, SCDC requested the Attorney General provide clarification to the language of

section 24-3-580. 2015 WL 4699337 (S.C.A.G. July 27, 2015). Specifically, SCDC asked the

Attorney General whether the phrase “member of an execution team” extends to include “an

individual or company” providing or participating in the preparation of chemical compounds

intended for use by SCDC in “carrying out an order of execution by lethal injection.” Id. at *2.

The Attorney General concluded section 24-3-580 must be “broadly construed” to include

individuals and companies involved in any phase of the execution process, particularly the


5
 See, Affidavit of Colie Rushton, attached hereto as Exhibit 1.
6
 This information can only be knowingly disclosed upon a court order under seal in order to
properly adjudicate pending litigation. Id.




                                                 9
    3:21-cv-00278-RBH          Date Filed 01/28/21       Entry Number 1-3     Page 11 of 19




preparation of lethal injection drugs. Id. at *2. The Attorney General explained section 24-3-580

is “a remedial statute designed to prohibit the disclosure of an execution team member’s

identifying information by providing a civil right of action against those who release such

information.” Id. The Attorney General found this broad interpretation of the statute is consistent

with the rationale justifying Lethal Injection Secrecy Laws, which is to ensure confidentiality for

the protection of all parties involved. Id. at 4.

        This same broad reasoning is applicable to prohibit dissemination of information regarding

those members and manufacturers of components used to carry out the electrocutions.

Furthermore, it appears from the depth of information set forth in his proposed Complaint and

Petition for Writ of Mandamus that Petitioner and his team possess more than enough information

and research into the two statutorily available methods of execution, and therefore provide no

reasonable explanation for why they need the detailed information they seek and that SCDC asserts

should be protected.7

        Simply put, Petitioner is not entitled to the information he seeks, and no statutory or

constitutional right would be impinged if he were required to make his election under S.C. Code

Ann. Section 24-3-530.

        b.      Petitioner has not been denied any required notice guaranteed by the United
                States and South Carolina Constitutions.

        To the extent Petitioner raises additional arguments related to alleged Due Process

violations that not covered above, Respondents more specifically state, that while the requirements




7
 Respondents recognize that Petitioner has also requested detailed information about what, if any,
modifications to the requested protocols have been made due to COVID-19 concerns.
Respondents fail to see how a condemned person, subject to death, would have any standing to
challenge whether or not COVID-19 protocols exist to protect those involved in the execution.




                                                    10
    3:21-cv-00278-RBH         Date Filed 01/28/21       Entry Number 1-3        Page 12 of 19




of due process mandate notice, the opportunity to be heard in a meaningful way, and judicial

review, see Blanton v. Stathos, 351 S.C. 534, 542, 570 S.E.2d 565, 569 (Ct. App. 2002), such

requirements are not applicable until a Due Process right has been triggered, and Petitioner has

failed to establish the existence of any facts and/or circumstances that would trigger such rights.

       Petitioner argues SCDC, by not providing its internal policies and protocols, has failed to

provide him with the notice required by due process. However, Petitioner’s argument lacks merit

because he has been afforded sufficient notice as demanded by due process at every stage

throughout his criminal proceedings. Indeed, Petitioner has exhausted his state and federal

appellate review.

       c.      Even if Petitioner were able to establish a violation of any right he may have
               because of the alleged failure to provide the requested information, that claim
               is now moot

    Although Respondents assert, as is set forth in detail above, that Petitioner, even if allowed to

proceed in this Court under its Original Jurisdiction, has failed to establish any violation of any

statutory or constitutional right through the purported failure to provide the detailed information

he has requested, Respondents assert that such claims are now moot.

       “An appellate court will not pass on moot and academic questions or make an adjudication

where there remains no actual controversy.” Curtis v. State, 245 S.C. 557, 567, 549 S.E.2d 591,

596 (2001). “[M]oot appeals result when intervening events render a case nonjusticiable.” Id.

       Attached to this Return is the Affidavit of Colie Rushton. Mr. Rushton has over 46 years

of experience with SCDC, and has served in the role of Director of Security since 2007. See Aff.

Rushton. Mr. Rushton provides in his affidavit sufficient information regarding the make up of

and selection process for the members of the execution team that will serve in the carrying out of

the execution of Richard Bernard Moore. Id. Furthermore, SCDC has decided that it will allow




                                                11
    3:21-cv-00278-RBH         Date Filed 01/28/21      Entry Number 1-3        Page 13 of 19




members of Petitioner’s legal defense team access to the protocols for both electrocution and lethal

injection before Petitioner makes his election on, or before, November 20, 2020. Id.

       As a result, even though Petitioner has established no statutory or constitutional right to

the requested information, any such claim is hereby moot.

                                         CONCLUSION

       Based on the forgoing, Respondents respectfully submit that Petitioner’s petitions must be

denied, and that he is not entitled to the relief he seeks in his proposed Complaint. Furthermore,

should the Court elect to grant the Petition for Original Jurisdiction, Respondents request a

reasonable opportunity to fully brief and respond to the purported merits of the proposed

Complaint.

                                  RESPECTFULLY SUBMITTED,

                                  SMITH│ROBINSON

                                      s/ Daniel C. Plyler                      _
                                     DANIEL C. PLYLER (S.C. Bar #72671)
                                     AUSTIN T. REED (S.C. Bar #102808)
                                     SAMUEL L. KEY (S.C. Bar #103206)
                                     2530 Devine Street, Third Floor
                                     Columbia, SC 29205
                                     (803) 254-5445
                                     Daniel.Plyler@smithrobinsonlaw.com

                                  Counsel for Respondents South Carolina Department of
                                  Corrections and Director Brian Stirling

November 18, 2020

Columbia, South Carolina




                                                12
3:21-cv-00278-RBH   Date Filed 01/28/21   Entry Number 1-3   Page 14 of 19
3:21-cv-00278-RBH   Date Filed 01/28/21   Entry Number 1-3   Page 15 of 19
3:21-cv-00278-RBH   Date Filed 01/28/21   Entry Number 1-3   Page 16 of 19
3:21-cv-00278-RBH   Date Filed 01/28/21   Entry Number 1-3   Page 17 of 19
3:21-cv-00278-RBH   Date Filed 01/28/21   Entry Number 1-3   Page 18 of 19
    3:21-cv-00278-RBH         Date Filed 01/28/21     Entry Number 1-3        Page 19 of 19




                           IN THE STATE OF SOUTH CAROLINA
                                   In the Supreme Court


                                  ORIGINAL JURISDICTION


               Richard Bernard Moore

                                                                         Petitioner

                                                v.

               Bryan P. Sterling, Director
               of the South Carolina
               Department of Corrections,
               and the South Carolina
               Department of Corrections

                                                                     Respondents.


                                        Proof of Service

       Pursuant to the Supreme Court’s Order “RE: Operation of the Appellate Courts During the

Coronavirus Emergency,” dated March 20, 2020, the undersigned hereby certifies a true copy of

the Return to Petition for Common Law Remedial Writs of Certiorari and Mandamus, Return to

Petition for Original Jurisdiction and Declaratory Relief, and Affidavit of Colie Rushton has been

served upon opposing counsel by sending to opposing counsel’s primary e-mail address as listed

in the Attorney Information System (AIS):

               Lindsey S. Vann, Esquire
               lindsey@justice360sc.org

       This 18th Day of November 2020.
                                                s/ Samuel L. Key                       _
                                             Samuel L. Key
                                             2530 Devine Street, Third Floor
                                             Columbia, SC 29205
                                             (803) 254-5445
                                             Daniel.Plyler@smithrobinsonlaw.com
